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AO 442 (Rev 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

United States of America ) air ,

Vv. )
) Case No. 1:20-MJ-358
BENJAMIN BURDICK, )
)
)
as; _ -_ )
Defendant :
ARREST WARRANT = i
! =
To: Any authorized law enforcement officer co :
es aS a
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) | BENJAMIN BURDICK _—
who is accused of an offense or violation based on the following document filed with the court: ~
O Indictment O Superseding Indictment 1 Information 1 Superseding Information a Complaint
O Probation Violation Petition O Supervised Release Violation Petition [Violation Notice Order of the Court

This offense is briefly described as follows:

Title 21 U.S.C. Sections 331(i)(1) and 333(b)(8): Knowingly selling and dispensing, and holding for sale and dispensing,
counterfeit drugs.

Date: 12/28/2020 HLA

issuing officer's signature

City and state: Alexandria, Virginia

Printed name and title

 

Return

 

 

This warrant was received on (dare) [7/2 , and the person was arrested on (date) s/21 ae
at (city and state) Cites County ' Fl — =

Date: fai _ - Tarn Keszethel po

Arresting officer’§ signature

= Ct trus Louaty_S 266 th Wit tiv

Printed name and title

 

 
